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   -+!&%"+-'204'()#"'+4'#(()3'+4'>#15#1&:
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   )#2-!*+'24!)&'/#1',14$'>#15#1&:''T0%'^_`3%#1`4)&.'204'61#&!#+%&',14$'>#15#1&'*"']#3'2*+0'#
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   mgeoikwditdkjeokglogisedisdfsiomjkdjomsgldnkibvydsdomjdtgkeodmfatditdomjdomdljsobkw{dbsogadgodagtojh
   omjcdbshjkdvkjeebkj{dpfkqfkhdgcviejhdagcgoedisdfhcgeegiseditdjey
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   pfkqfkhdfhivojhdftojkdgodfxfshisjhdomjdbiofeydullikhgsndoidomjdafebgo{dpfkqfkhdeogaadokgjhdoi
   tgnbkjdibodmglmdfvvaglfsoedjkjdjedfshdbejhdgoedhgelkjogisfkwdfhcgeegisedvkiljeedoidhjsw
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   ?QG>I?PG>PJ>:?KLDG>PQHFE<?JPFQ>?MF;J>JOD>IJ;GPDI>JF>IVDKPHPK?::C>EDIVFQG>JF>JOD<X
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   I?PG>JOD>V:?PQJPHHI>N?QJ>Y?ET?EG>JF>J;EQ>FTDE>GFK;<DQJI>JO?J>IOFN>OFN>Y?ET?EG>GDJDE<PQDI
   ?QG>;IDI>?Q>?VV:PK?QJZI>E?KDX>jFQIFTFC>I;UUDIJDG>OD>NF;:G>MD>IDDLPQU><?JDEP?:I>I;KO>?I>IJ;GDQJ
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